USDC IN/ND case 2:05-cr-00143-PPS-PRC document 41 filed 01/03/06 page 1 of 1


                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                             HAMMOND DIVISION


UNITED STATES OF AMERICA,                )
               Plaintiff,                )
                                         )
             vs.                         )      CASE NUMBER: 2:05 CR 143 PS
                                         )
RUDOLFO HEREDIA,                         )
             Defendant.                  )


                              ORDER FOR JURY MEALS

      IT IS THE ORDER of this Court that for security and publicity reasons the Jury

in this case be committed to the custody of the U.S. Marshals, duly sworn, and

furnished meals for each day of trial, including deliberation, as directed by the Court;

and

      IT IS FURTHER ORDERED that the Clerk of Court for the Northern District of

Indiana be authorized to make payment for all food furnished said Jury and U.S.

Marshals out of the appropriation provided therefore at the expense of the United

States of America.



      ENTER: January 3, 2006


                                                S/Philip P. Simon
                                                PHILIP P. SIMON, JUDGE
                                                UNITED STATES DISTRICT COURT
